         Case 2:17-cv-00044-ECM-SMD Document 33 Filed 05/11/20 Page 1 of 2
                  Case: 19-13814 Date Filed: 05/11/2020 Page: 1 of 1


                         UNITED STATES COURT OF APPEALS
                            FOR THE ELEVENTH CIRCUIT
                            ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                          56 Forsyth Street, N.W.
                                          Atlanta, Georgia 30303

David J. Smith                                                                     For rules and forms visit
Clerk of Court                                                                     www.ca11.uscourts.gov


                                         May 11, 2020

Clerk - Middle District of Alabama
U.S. District Court
1 CHURCH ST
MONTGOMERY, AL 36104

Appeal Number: 19-13814-JJ
Case Style: Amber Jernigan, et al v. City of Montgomery, Alabama, et al
District Court Docket No: 2:17-cv-00044-ECM-SMD

A copy of this letter, and the judgment form if noted above, but not a copy of the court's
decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
was previously forwarded to counsel and pro se parties on the date it was issued.

The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
was previously provided on the date of issuance.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Lois Tunstall
Phone #: (404) 335-6191

Enclosure(s)
                                                                    MDT-1 Letter Issuing Mandate
      Case 2:17-cv-00044-ECM-SMD Document 33 Filed 05/11/20 Page 2 of 2
               Case: 19-13814 Date Filed: 05/11/2020 Page: 1 of 1


                           UNITED STATES COURT OF APPEALS
                                 For the Eleventh Circuit
                                     ______________

                                          No. 19-13814
                                         ______________

                                     District Court Docket No.
                                    2:17-cv-00044-ECM-SMD

AMBER JERNIGAN,
TAYLOR JERNIGAN,

                                                    Plaintiffs - Appellants,

versus

CITY OF MONTGOMERY, ALABAMA,
a municipal corporation,
JEREMY BROWNING,
Officer, in his individual and official capacity,

                                             Defendants - Appellees.
                       __________________________________________

                       Appeal from the United States District Court for the
                                  Middle District of Alabama
                       __________________________________________

                                           JUDGMENT

It is hereby ordered, adjudged, and decreed that the opinion issued on this date in this appeal is
entered as the judgment of this Court.

                                     Entered: April 10, 2020
                         For the Court: DAVID J. SMITH, Clerk of Court
                                         By: Jeff R. Patch




ISSUED AS MANDATE 05/11/2020
